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                                                                                                       ELECTRONICALLY FILED - 2021 Jul 07 2:25 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
STATE OF SOUTH CAROLINA                      )       IN THE COURT OF COMMON PLEAS
                                             )          FIFTEENTHJUDICIAL CIRCUIT
COUNTY OF HORRY                              )            C/A NO.: 2021-CP-26-______
                                             )
Tanieka D. Gause,                            )
                                             )
                  Plaintiff,                 )                     SUMMONS
                                             )
vs.                                          )
                                             )
Jurdon L. Thompson, Jr.,                     )
                                             )
                 Defendant.                  )



TO THE DEFENDANT ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Complaint herein, a copy
of which is herewith served upon you, and to serve a copy of your Answer to the said Complaint
on THE DERRICK LAW FIRM, at its office at Post Office Box 28, Conway, South Carolina,
29528, within Thirty (30) days after the service hereof, exclusive of the day of such service; and
if you fail to answer the Complaint within the time aforesaid, the Plaintiff will apply to the Court
for the relief demanded in the Complaint and judgment by default will be rendered against you for
the relief demanded in the Complaint.

       DATED this 7th day of July, 2021

                                                             The Derrick Law Firm

                                                             s/Allyson R. Pittman
                                                             _______________________
                                                             Allyson R. Pittman, Esquire
                                                             Attorney for the Plaintiff
                                                             PO Box 28
                                                             Conway, SC 29528
                                                             843-248-7486
                                                             allyson@derricklawfirm.com
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                                                                                                        ELECTRONICALLY FILED - 2021 Jul 07 2:25 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
STATE OF SOUTH CAROLINA                         )        IN THE COURT OF COMMON PLEAS
                                                )          FIFTEENTH JUDICIAL CIRCUIT
COUNTY OF HORRY                                 )            C/A NO.: 2021-CP-26-______
                                                )
Tanieka D. Gause,                               )
                                                )
                   Plaintiff,                   )                  COMPLAINT
                                                )
vs.                                             )               (Jury Trial Requested)
                                                )
Jurdon L. Thompson, Jr.                         )
                                                )
                  Defendant.                    )


        Plaintiff, Tanieka D. Gause (“Plaintiff”), by and through her undersigned counsel,

complaining of the above-named Defendant, Jurdon L. Thompson, Jr. (“Defendant”), would

respectfully show unto this Honorable Court the following:

        1.      Plaintiff is a citizen and resident of Little River, Horry County, South Carolina.

        2.      Upon information and belief, the Defendant is a citizen resident of the State of

Texas, at all times relevant hereto working in Horry County, South Carolina.

        3.      The automobile collision constituting the subject matter of this Complaint occurred

in Horry County, South Carolina.

        4.      Jurisdiction and venue are proper before this Honorable Court.

                                                FACTS

        5.      On or about June 16, 2021, Plaintiff was the driver of a 2004 Chevrolet traveling

northbound on SC 9 near Little River, Horry County, South Carolina.

        6.      At the same time, Defendant was the operator of a 2013 Ford turning left onto SC

9 from a private drive near Little River, Horry County, South Carolina.

        7.      Defendant negligently and recklessly failed to yield the right of way and pulled into

the path of Plaintiff's vehicle.
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                                                                                                        ELECTRONICALLY FILED - 2021 Jul 07 2:25 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
       8.      As a direct and proximate result of the collision, Plaintiff suffered severe, painful,

and permanent injuries.

                                   FOR A CAUSE OF ACTION
                                         (Negligence)

       9.      Plaintiff re-alleges and restates all previous paragraphs as if set forth herein

verbatim.

       10.     Defendant owed a duty, while operating his vehicle, to exercise reasonable care to

avoid collisions with other vehicles on the roadway.

       11.     The Defendant breached his duty and was negligent, reckless, willful, and wanton

in the following particulars:

               (a)     In failing to obey traffic laws;

               (b)     In failing to keep a proper lookout;

               (c)     In failing to keep his vehicle under proper control;

               (d)     In failing to use due care;

               (e)     In failing to properly observe the road and surrounding traffic conditions;

               (f)     In operating the vehicle without using due care and without regard for

                       safety and rights of Plaintiff;

               (g)     In failing to maintain control of the vehicle;

               (h)     In any other acts that represent a breach of the statutory or common laws

                       of the State of South Carolina;

               (i)     In failing to use that degree of care and caution necessary in the conditions

                       that then and there existed;

               (j)     In failing to adhere to laws as set forth under the Uniform Act Regulating

                       Traffic on Highways. S.C. Code Ann. § 56-5-10 et seq.
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                                                                                                     ELECTRONICALLY FILED - 2021 Jul 07 2:25 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
               (k)      In any other such manner that Plaintiff may become aware of through

                        discovery and/or at trial.

       12.     The Defendant’s actions constitute gross negligence and negligence per se.

       13.     As a result of the aforesaid acts and/or omissions of the Defendant, the Plaintiff

sustained damages including:

               (a) Pain and suffering;

               (b) Injuries to and about her body;

               (c) Limitation of motion;

               (d) Worry, headaches, mental anguish and mental anxiety;

               (e) Permanent impairment, injuries, and disabilities;

               (f) Inability to perform his normal duties at work;

               (g) Loss of income;

               (h) Medical bills;

               (i) Loss of enjoyment of life;

               (j) Property damage; and

               (k) Any other losses which may be unearthed throughout the litigation of this

                     matter.

       WHEREFORE, Plaintiff prays this Court enter judgment against Defendant for actual

damages in an amount greater than one hundred thousand dollars and punitive damages in an

appropriate amount, and for the costs of this action and for such other and further relief as this

Honorable Court deems just, in an amount to be determined by a jury.




                                     [Signature Page to Follow]
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                                                                                 ELECTRONICALLY FILED - 2021 Jul 07 2:25 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
                                                   The Derrick Law Firm

                                                   s/Allyson R. Pittman
                                                   _______________________
                                                   Allyson R. Pittman, Esquire
                                                   Attorney for the Plaintiff
                                                   PO Box 28
                                                   Conway, SC 29528
                                                   843-248-7486
                                                   843-248-7510
                                                   allyson@derricklawfirm.com

July 7, 2021
Conway, South Carolina
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                                                                                                     ELECTRONICALLY FILED - 2021 Aug 18 2:52 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
STATE OF SOUTH CAROLINA                          )     IN THE COURT OF COMMON PLEAS
                                                 )        FIFTEENTH JUDICIAL CIRCUIT
COUNTY OF HORRY                                  )       Civil Action No.: 2021-CP-26-04488
                                                 )
TANIEKA D. GAUSE,                                )
                                                 )
                          Plaintiff,             )
                                                 )         DEFENDANT’S ANSWER TO
 vs.                                             )         PLAINTIFF’S COMPLAINT
                                                 )
JURDON L. THOMPSON, JR.                          )         (JURY TRIAL DEMANDED)
                                                 )
                         Defendant.              )


        Defendant Jurdon L. Thompson, Jr. (hereinafter “Defendant”), by and through his
undersigned attorneys, answers the Plaintiff’s Complaint as follows:

                                       FOR A FIRST DEFENSE
        1.     Defendant denies each and every allegation of the Complaint not hereinafter
specifically and unconditionally admitted.

        2.     Defendant admits, upon information and belief, the allegations of Paragraphs 1
through 4 of the Complaint.

        3.     Answering the allegations of Paragraphs 5 and 6 of the Complaint, Defendant
admits that on or about the time and place complained of, a collision occurred between Plaintiff's
vehicle and Defendant's vehicle. Defendant denies the remaining allegations of those paragraphs
and demands strict proof thereof.

        4.     Defendant denies the allegations of Paragraph 7 of the Complaint.

        5.     Defendant is without sufficient information to form a belief as to the allegations
of Paragraph 8 of the Complaint.

        6.     Answering the allegations of Paragraph 9 of the Complaint, Defendant realleges
and reasserts all previous paragraphs as if set forth herein verbatim.

        7.     Paragraph 10 of the Complaint sets forth legal conclusions which require no
response of Defendant. To the extent said paragraph requires a response, it is denied.




                                                 1
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                                                                                                    ELECTRONICALLY FILED - 2021 Aug 18 2:52 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
       8.      Defendant denies the allegations of Paragraph 11 of the Complaint, including all
subparagraphs thereto.

       9.      Defendant denies the allegations of Paragraph 12 of the Complaint.

       10.     Defendant is without sufficient information to form a belief as to the allegations
of Paragraph 13 of the Complaint, and therefore denies the same and demands strict proof
thereof.

                                 FOR A SECOND DEFENSE
                                  (Comparative Negligence)
       11.     FURTHER ANSWERING, any damage suffered by the Plaintiff may be the
direct and proximate result of her comparative and contributory negligence and Plaintiff’s
recovery should be barred, or alternatively, reduced proportionately to the Plaintiff’s
comparative negligence.

                                  FOR A THIRD DEFENSE
                                    (Punitive Damages)
       12.     FURTHER ANSWERING, Defendant alleges and says that the imposition of
punitive damages on the basis of the accident giving rise to this lawsuit would represent the
deprivation of liberty and property without due process of law, the imposition of cruel and
unusual punishment and excessive fines and deny the equal protection of the laws in violation of
the Fifth, Sixth, Eighth and Fourteenth Amendments to the Constitution of the United States and
the comparable provisions of the Constitution of the State of South Carolina.

                                FOR A FOURTH DEFENSE
                            (Statutory Cap on Punitive Damages)
       13.     FURTHER ANSWERING, Defendant pleads all rights and limitations pursuant to
§15-32-530 of the South Carolina Code of Laws, including but not limited to any and all
limitations and caps on any award of punitive damages.

       WHEREFORE, having fully answered Plaintiff’s Complaint, Defendant prays that the
same be dismissed with costs and for such other and further relief as this Court may deem to be
just and proper.


                           [SIGNATURE ON FOLLOWING PAGE]


                                                2
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                                                                                        ELECTRONICALLY FILED - 2021 Aug 18 2:52 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
                                        WILLSON JONES CARTER & BAXLEY, P.A.

                                        s/ G. Troy Thames___________________________
                                        G. Troy Thames, S.C. Bar No.: 69440
                                        Dana Maurizio Klingener, S.C. Bar No.: 104196
                                        421 Wando Park Boulevard, Suite 100
                                        Mount Pleasant, SC 29464
                                        Telephone: (843) 284-0832
Mount Pleasant, South Carolina          Facsimile: (843) 606-3300
                                        Email: tthames@wjcblaw.com
                                                dmklingener@wjcblaw.com
August 18, 2021                         ATTORNEYS FOR DEFENDANT




                                           3
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                                                                                                  ELECTRONICALLY FILED - 2021 Aug 18 2:52 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
STATE OF SOUTH CAROLINA                       )    IN THE COURT OF COMMON PLEAS
                                              )       FIFTEENTH JUDICIAL CIRCUIT
COUNTY OF HORRY                               )      Civil Action No.: 2021-CP-26-04488
                                              )
TANIEKA D. GAUSE,                             )
                                              )
                          Plaintiff,          )
                                              )
 vs.                                          )        CERTIFICATE OF SERVICE
                                              )
JURDON L. THOMPSON, JR.                       )
                                              )
                        Defendant.            )

        I hereby certify that DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT was
served upon all counsel of record by electronically filing, a true and accurate copy thereof on
August 18, 2021, as follows to:

        Allyson R. Pittman, Esquire
        The Derrick Law Firm
        P.O. Box 28
        Conway, SC 29528
        Attorneys for Plaintiff


                                           s/ G. Troy Thames__________________
                                           G. Troy Thames, S.C. Bar No.: 69440
                                           Dana Maurizio Klingener, S.C. Bar No.: 104196
                                           421 Wando Park Boulevard, Suite 100
                                           Mount Pleasant, SC 29464
                                           Telephone: (843) 284-0832
                                           Facsimile: (843) 606-3300
                                           Email: tthames@wjcblaw.com
                                                   dmklingener@wjcblaw.com
                                           ATTORNEYS FOR DEFENDANT




                                              1
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                                                                                                      ELECTRONICALLY FILED - 2022 Jan 06 2:11 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
STATE OF SOUTH CAROLINA                      )       IN THE COURT OF COMMON PLEAS
                                             )          FIFTEENTHJUDICIAL CIRCUIT
COUNTY OF HORRY                              )            C/A NO.: 2021-CP-26-04488
                                             )
Tanieka D. Gause,                            )
                                             )
                  Plaintiff,                 )                     SUMMONS
                                             )
vs.                                          )
                                             )
Jurdon L. Thompson, Jr. and                  )
ARCO Design/Build, LLC                       )
                                             )
                Defendants.                  )



TO THE DEFENDANTS ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Amended Complaint
herein, a copy of which is herewith served upon you, and to serve a copy of your Answer to the
said Complaint on THE DERRICK LAW FIRM, at its office at Post Office Box 28, Conway,
South Carolina, 29528, within Thirty (30) days after the service hereof, exclusive of the day of
such service; and if you fail to answer the Complaint within the time aforesaid, the Plaintiff will
apply to the Court for the relief demanded in the Complaint and judgment by default will be
rendered against you for the relief demanded in the Complaint.

       DATED this 6th day of January, 2022.

                                                            The Derrick Law Firm

                                                            s/Allyson R. Pittman
                                                            _______________________
                                                            Allyson R. Pittman, Esquire
                                                            Attorney for the Plaintiff
                                                            PO Box 28
                                                            Conway, SC 29528
                                                            843-248-7486
                                                            allyson@derricklawfirm.com
      4:22-cv-00549-JD         Date Filed 02/18/22    Entry Number 1-1        Page 12 of 20




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STATE OF SOUTH CAROLINA                      )       IN THE COURT OF COMMON PLEAS
                                             )         FIFTEENTH JUDICIAL CIRCUIT
COUNTY OF HORRY                              )            C/A NO.: 2021-CP-26-04488
                                             )
Tanieka D. Gause,                            )
                                             )
                  Plaintiff,                 )             AMENDED COMPLAINT
                                             )
vs.                                          )                 (Jury Trial Requested)
                                             )
Jurdon L. Thompson, Jr. and                  )
ARCO Design/Build, LLC                       )
                                             )
                Defendant.                   )


       Plaintiff, Tanieka D. Gause (“Plaintiff”), by and through her undersigned counsel,

complaining of the above-named Defendants, Jurdon L. Thompson, Jr. (“Defendant Thompson”)

and ARCO Design/Build, LLC (“Defendant ARCO”), would respectfully show unto this

Honorable Court the following:

       1.      Plaintiff is a citizen and resident of Little River, Horry County, South Carolina.

       2.      Upon information and belief, Defendant Thompson is a citizen resident of the State

of Texas, at all times relevant hereto working in Horry County, South Carolina.

       3.      Upon information and belief, Defendant ARCO, is a limited liability corporation,

incorporated in the State of Delaware, but at all times relevant hereto conducting business in the

State of South Carolina.

       4.      Upon information and belief, Defendant Thompson is or was at all times relevant

hereto and employee or agent of Defendant ARCO.

       5.      The automobile collision constituting the subject matter of this Complaint occurred

in Horry County, South Carolina.

       6.      Jurisdiction and venue are proper before this Honorable Court.
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                                                                                                         ELECTRONICALLY FILED - 2022 Jan 06 2:11 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
                                                FACTS

        7.      On or about June 16, 2021, Plaintiff was the driver of a 2004 Chevrolet traveling

northbound on SC 9 near Little River, Horry County, South Carolina.

        8.      At the same time, Defendant was the operator of a 2013 Ford turning left onto SC

9 from a private drive near Little River, Horry County, South Carolina.

        9.      Defendant negligently and recklessly failed to yield the right of way and pulled into

the path of Plaintiff's vehicle.

        10.     As a direct and proximate result of the collision, Plaintiff suffered severe, painful,

and permanent injuries.

                      COUNT I – AS AGAINST DEFENDANT THOMPSON
                      (Negligent, Reckless, Willful, and/or Wanton Conduct)

        11.     Plaintiff re-alleges and restates all previous paragraphs as if set forth herein

verbatim.

        12.     Defendant owed a duty, while operating his vehicle, to exercise reasonable care to

avoid collisions with other vehicles on the roadway.

        13.     The Defendant breached his duty and was negligent, reckless, willful, and wanton

in the following particulars:

                (a)      In failing to obey traffic laws;

                (b)      In failing to keep a proper lookout;

                (c)      In failing to keep his vehicle under proper control;

                (d)      In failing to use due care;

                (e)      In failing to properly observe the road and surrounding traffic conditions;

                (f)      In operating the vehicle without using due care and without regard for

                         safety and rights of Plaintiff;
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                                                                                                       ELECTRONICALLY FILED - 2022 Jan 06 2:11 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
               (g)     In failing to maintain control of the vehicle;

               (h)     In any other acts that represent a breach of the statutory or common laws

                       of the State of South Carolina;

               (i)     In failing to use that degree of care and caution necessary in the conditions

                       that then and there existed;

               (j)     In failing to adhere to laws as set forth under the Uniform Act Regulating

                       Traffic on Highways. S.C. Code Ann. § 56-5-10 et seq.

               (k)     In any other such manner that Plaintiff may become aware of through

                       discovery and/or at trial.

       14.     The Defendant’s actions constitute gross negligence and negligence per se.

       15.     As a result of Defendant Thompson’s negligent, reckless, willful and/or wanton

conduct, Plaintiff sustained severe, painful and permanent injuries.

                      COUNT II – AS AGAINST DEFENDANT ARCO
                                  (Vicarious Liability)

       16.     Plaintiff re-alleges and restates all previous paragraphs as if set forth herein

verbatim.

       17.     The negligent, reckless, willful, and or wanton acts or omissions committed by

Defendant Thompson were done in the course and scope of his employment with Defendant

ARCO.

       18.     By virtue of the doctrine of respondeat superior, Defendant ARCO is liable to

Plaintiff for all damages cause by the negligent, reckless, willful, and/or wanton acts or omissions

of Defendant Thompson while acting as an agent or employee of Defendant ARCO and within the

course and scope of his employment.
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                                                                                                     ELECTRONICALLY FILED - 2022 Jan 06 2:11 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
       19.     As a result of Defendant AROC’s employee’s negligent, reckless, willful, and/or

wanton conduct, Plaintiff sustained severe, painful and permanent injuries.

                                           DAMAGES

       20.     As a result of the aforesaid acts and/or omissions of the Defendant, the Plaintiff

sustained damages including:

               (a) Pain and suffering;

               (b) Injuries to and about her body;

               (c) Limitation of motion;

               (d) Worry, headaches, mental anguish and mental anxiety;

               (e) Permanent impairment, injuries, and disabilities;

               (f) Inability to perform his normal duties at work;

               (g) Loss of income;

               (h) Medical bills;

               (i) Loss of enjoyment of life;

               (j) Property damage; and

               (k) Any other losses which may be unearthed throughout the litigation of this

                  matter.

       WHEREFORE, Plaintiff prays this Court enter judgment against Defendants for actual

damages in an amount greater than one hundred thousand dollars and punitive damages in an

appropriate amount, and for the costs of this action and for such other and further relief as this

Honorable Court deems just, in an amount to be determined by a jury.




                                     [Signature Page to Follow]
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                                                                                   ELECTRONICALLY FILED - 2022 Jan 06 2:11 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
                                                    The Derrick Law Firm

                                                    s/Allyson R. Pittman
                                                    _______________________
                                                    Allyson R. Pittman, Esquire
                                                    Attorney for the Plaintiff
                                                    PO Box 28
                                                    Conway, SC 29528
                                                    843-248-7486
                                                    843-248-7510
                                                    allyson@derricklawfirm.com

January 6, 2022
Conway, South Carolina
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                                                                                                     ELECTRONICALLY FILED - 2022 Jan 18 2:26 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
 STATE OF SOUTH CAROLINA                          )      IN THE COURT OF COMMON PLEAS
                                                  )         FIFTEENTH JUDICIAL CIRCUIT
 COUNTY OF HORRY                                  )        Civil Action No.: 2021-CP-26-04488
                                                  )
 TANIEKA D. GAUSE,                                )
                                                  )
                            Plaintiff,            )
                                                  )
  vs.                                             )   DEFENDANT JURDON L. THOMPSON,
                                                  )     JR’S ANSWER TO PLAINTIFF’S
 JURDON L. THOMPSON, JR and ARCO                  )        AMENDED COMPLAINT
 DESIGN/BUILD, LLC,                               )
                                                  )          (JURY TRIAL DEMANDED)
                           Defendants.            )


         Defendant Jurdon L. Thompson, Jr. (hereinafter “Defendant”), by and through his
undersigned attorneys, answers Plaintiff’s Amended Complaint as follows:

                                    FOR A FIRST DEFENSE
         1.    Defendant denies each and every allegation of the Amended Complaint not
hereinafter specifically and unconditionally admitted.

         2.    Defendant admits, upon information and belief, the allegations of Paragraphs 1
through 8 of the Amended Complaint.

         3.    Answering the allegations of Paragraphs 9 of the Amended Complaint, Defendant
admits that on or about the time and place complained of, a collision occurred between Plaintiff’s
vehicle and Defendant’s vehicle. Defendant denies the remaining allegations of those paragraphs
and demands strict proof thereof.

         4.    Defendant denies the allegations of Paragraph 10 of the Amended Complaint.

         5.    Answering the allegations of Paragraph 11 of the Amended Complaint, Defendant
alleges and reasserts all previous paragraphs as if set forth herein verbatim.

         6.    Paragraph 12 of the Amened Complaint sets forth legal conclusions which require
no response of this Defendant. To the extent said paragraph requires a response, it is denied.

         7.    Defendant denies the allegations of Paragraphs 13 through 15 of the Amended
Complaint, including all subparagraphs thereto.



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          8.    Answering the allegations of Paragraph 16 of the Amended Complaint, Defendant
alleges and reasserts all previous paragraphs as if set forth herein verbatim.

          9.    Paragraphs 17 through 19 of the Amended Complaint require no response of
Defendant. To the extent said Paragraphs contains any allegations against this Defendant, they are
denied.

          10.   Defendant denies the allegations of Paragraph 20 of the Amended Complaint,
including all subparagraphs thereto.

                               FOR A SECOND DEFENSE
          11.   Defendant Thompson reserves and asserts all rights under S.C. Code Ann. §15-38-
15.

                                   FOR A THIRD DEFENSE
                                   (Comparative Negligence)
          12.   FURTHER ANSWERING, any damage suffered by the Plaintiff may be the direct
and proximate result of her comparative and contributory negligence and Plaintiff’s recovery
should be barred, or alternatively, reduced proportionately to the Plaintiff’s comparative
negligence.

                                  FOR A FOURTH DEFENSE
                                     (Punitive Damages)
          13.   FURTHER ANSWERING, Defendant alleges and says that the imposition of
punitive damages on the basis of the accident giving rise to this lawsuit would represent the
deprivation of liberty and property without due process of law, the imposition of cruel and unusual
punishment and excessive fines and deny the equal protection of the laws in violation of the Fifth,
Sixth, Eighth and Fourteenth Amendments to the Constitution of the United States and the
comparable provisions of the Constitution of the State of South Carolina.

                                   FOR A FIFTH DEFENSE
                             (Statutory Cap on Punitive Damages)
          14.   FURTHER ANSWERING, Defendant pleads all rights and limitations pursuant to
§15-32-530 of the South Carolina Code of Laws, including but not limited to any and all limitations
and caps on any award of punitive damages.




                                                 2
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                                                                                                     ELECTRONICALLY FILED - 2022 Jan 18 2:26 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
       WHEREFORE, having fully answered Plaintiff’s Amended Complaint, Defendant prays
that the same be dismissed with costs and for such other and further relief as this Court may deem
to be just and proper.

                                             WILLSON JONES CARTER & BAXLEY, P.A.

                                             s/ Dana M. Klingener__________________
                                             G. Troy Thames, S.C. Bar No.: 69440
                                             Dana Maurizio Klingener, S.C. Bar No.: 104196
                                             4922 O’Hear Avenue, Suite 301
                                             North Charleston, SC 29405
                                             Telephone: (843) 284-0832
North Charleston, South Carolina             Facsimile: (843) 606-3300
                                             Email: tthames@wjcblaw.com
                                                    dmklingener@wjcblaw.com
January 18, 2022                             ATTORNEYS FOR DEFENDANT
                                             JURDON L. THOMPSON, JR.




                                                3
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                                                                                                    ELECTRONICALLY FILED - 2022 Jan 18 2:26 PM - HORRY - COMMON PLEAS - CASE#2021CP2604488
 STATE OF SOUTH CAROLINA                         )    IN THE COURT OF COMMON PLEAS
                                                 )       FIFTEENTH JUDICIAL CIRCUIT
 COUNTY OF HORRY                                 )      Civil Action No.: 2021-CP-26-04488
                                                 )
 TANIEKA D. GAUSE,                               )
                                                 )
                            Plaintiff,           )
                                                 )
  vs.                                            )        CERTIFICATE OF SERVICE
                                                 )
 JURDON L. THOMPSON, JR. and ARCO                )
 DESIGN/BUILD, LLC,                              )
                                                 )
                           Defendants.           )

         I hereby certify that a copy of a DEFENDANT’S ANSWER TO PLAINTIFF’S
AMENDED COMPLAINT was served upon all counsel of record by electronically filing and/or
by depositing in the United States Mail, proper postage affixed thereto, a true and accurate copy
thereof on January 18, 2022, as follows to:

         Allyson R. Pittman, Esquire
         The Derrick Law Firm
         P.O. Box 28
         Conway, SC 29528
         Attorneys for Plaintiff


                                              s/ Dana M. Klingener__________________
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